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                       Return Date: No return date scheduled                          12-Person Jury
                       Hearing Date: 6/17/2019 9:45 AM - 9:45 AM
                       Courtroom Number: 2508
                       Location: District 1 Court                                                                                   FILED
                               Cook County, IL                                                                                      2/15/2019 11:57 AM
                                                             IN THE CIRCUIT COURT OF COOK COUNTY, ILLINOIS                          DOROTHY BROWN
                                                                                                                                    CIRCUIT CLERK
                                                                 COUNTY DEPARTMENT, CHANCERY DIVISION
                                                                                                                                    COOK COUNTY, IL
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                                                                                                                                    2019CH02032
                                                ERIC KROHM, individually and on                )
                                                behalf of similarly situated individuals,      )
                                                                                               )                2019CH02032
                                                         Plaintiff,                            )          No.
                                                                                               )
                                                                         v.                    )
                                                                                               )          Hon.
                                                EPIC GAMES, INC., a Maryland                   )
                                                corporation,                                   )          Jury Demanded
                                                                                               )
                                                         Defendant.                            )

                                                                      CLASS ACTION COMPLAINT & JURY DEMAND

                                                    Plaintiff Eric Krohm (“Plaintiff”), individually and on behalf of a class of similarly situated

                                             persons, brings this Class Action Complaint against Epic Games, Inc., (“Defendant” or “Epic

                                             Games”), due to its actions and inactions resulting in a catastrophic cybersecurity vulnerability

                                             (the “Vulnerability”) in Defendant’s global-hit video game, Fortnite. Plaintiff alleges as follows

                                             based on personal knowledge as to his own acts and experiences, and as to all other matters, upon

                                             information and belief, including an investigation conducted by his attorneys.

                                                                                    INTRODUCTION

                                                    1.      Defendant Epic Games is the developer of Fortnite, one of the most popular video

                                             games ever produced with tens of millions of active monthly users across the globe.

                                                    2.      Defendant’s Fortnite video game generates hundreds of millions of dollars in

                                             annual revenue, a significant portion of which is derived from players’ in-game purchases of items

                                             such as outfits, or “skins,” for their in-game characters. In order to make an in-game purchase,

                                             Defendant requires players to purchase and utilize its own Fortnite currency called “Vbucks.”

                                                    3.      Around or before November 2018, Defendant became aware of a significant

                                             cybersecurity Vulnerability in its Fortnite video game that allowed cyber-criminals and



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                                             unauthorized third parties to hijack player accounts and access players’ personally identifiable

                                             information (“PII”), credit card and payment information (“Payment Information”), and other
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                                             sensitive data associated with the players’ respective accounts.

                                                    4.      After hijacking a respective player’s Fortnite account, a cyber-criminal is then able

                                             to make in-game purchases of Vbucks in order to resell the same on the criminal black market.

                                                    5.      Indeed, Defendant’s Vbucks currency is a lucrative item for cybercriminals, and

                                             Defendant is fully cognizant of the substantial criminal activity surrounding the fraudulent

                                             acquisition of Vbucks.

                                                    6.      In addition to exposing the PII and Payment Information of Fortnite players, the

                                             Vulnerability also enabled unauthorized parties to covertly listen in on the conversations of

                                             Fortnite players, many of which are minors, thereby constituting a severe breach of privacy.

                                                    7.      Even though Defendant knew that it was storing sensitive information which was

                                             valuable and vulnerable to cyber attackers, particularly credit card and other Payment Information,

                                             Defendant nonetheless failed to take basic security precautions that could have prevented, and

                                             certainly at least mitigated, the ramifications of the Vulnerability.

                                                    8.      Defendant’s lax cybersecurity policies and procedures created the Vulnerability

                                             that allowed hackers to obtain access to Plaintiff’s and other players’ PII and Payment Information.

                                                    9.      Even if certain of the PII and Payment Information made available to hackers as a

                                             result of the Vulnerability is not being presently used for identity theft, any such PII and Payment

                                             Information that has been stored and/or sold for future misuse and/or sale are likewise at highly

                                             imminent risk of unauthorized disclosure.




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                                                    10.     A lucrative criminal black market exists for PII and, in particular, Payment

                                             Information. These items increase in value when associated with active user accounts, which are
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                                             then subject to highly targeted spam and phishing attack campaigns.

                                                    11.     Further, even after being made aware of the Vulnerability by a leading

                                             cybersecurity research firm, Defendant nonetheless failed to remedy the Vulnerability within a

                                             reasonable time and failed to employ a reasonable notification protocol to alert Plaintiff and other

                                             Fortnite players of the Vulnerability.

                                                    12.     To this day, Plaintiff continues to rely on his own time, efforts, and expense to

                                             monitor and assess the extent to which his valuable PII and Payment Information was

                                             compromised due to the Vulnerability, and Plaintiff will need to continually monitor his accounts

                                             into the foreseeable future.

                                                    13.     On behalf of himself and the proposed Classes defined below, Plaintiff seeks

                                             equitable and monetary damages, together with costs and reasonable attorneys’ fees

                                                                                          PARTIES

                                                    14.     Defendant Epic Games, Inc., is a Maryland corporation that is headquartered in

                                             North Carolina. Epic Games markets and offers its products and services, including the subject

                                             Fortnite video game, throughout Illinois and Cook County.

                                                    15.     Plaintiff Eric Krohm is a resident and citizen of the State of Illinois.

                                                                              JURISDICTION AND VENUE

                                                    16.     This Court may assert personal jurisdiction over Defendant pursuant to 735 ILCS

                                             5/2-209 in accordance with the Illinois Constitution and the Constitution of the United States

                                             because Defendant is doing business within this State and intentionally markets its products and




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                                             services, including the subject Fortnite video game, in this State to Illinois residents. Tens, if not

                                             hundreds, of thousands of Illinois residents play Defendant’s Fortnite game on a regular basis.
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                                                    17.     Venue is proper in Cook County pursuant to 735 ILCS 5/2-101, because Defendant

                                             is doing extensive business throughout Cook County and because the transaction which forms the

                                             primary basis for this lawsuit occurred in Cook County.

                                                                           FACTS SPECIFIC TO PLAINTIFF

                                                    18.     Defendant Epic Games is the developer of Fortnite, one of the most popular and

                                             successful video games in the United States and across the globe.

                                                    19.     Like millions of other Fortnite players, Plaintiff was required to create an account

                                             with Defendant in order to play. Defendant required Plaintiff to provide certain PII in order to

                                             create his account, and also enabled and encouraged him to store his Payment Information for

                                             future purchases of Vbucks, Defendant’s in-game currency for Fortnite which enables players to

                                             make in-game purchases.

                                                    20.     In order to make prospective account holders more comfortable with providing their

                                             Payment Information and other PII during the registration process, Defendant expressly promised

                                             to maintain appropriate technical safeguards to protect user account holders’ PII and Payment

                                             Information from accidental, unlawful, or unauthorized destruction, loss, alteration, access,

                                             disclosure, or use.

                                                    21.     Plaintiff entrusted Defendant with his PII and Payment Information with the belief

                                             and understanding that Defendant would implement reasonable cybersecurity protocols to protect

                                             the same, or at least reasonably notify him of any irregularities. Plaintiff would not have otherwise

                                             provided his PII and Payment Information to Defendant.




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                                                    22.     Around or before November 2018, a leading cybersecurity research firm alerted

                                             Defendant to the subject Fortnite Vulnerability which allowed cyber-criminals and unauthorized
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                                             third parties to access and extract PII, Payment Information, and other sensitive data associated

                                             with the player accounts.

                                                    23.     The Vulnerability existed because Defendant failed to implement a basic

                                             precautionary technical measure that would have prevented unauthorized third-parties the ability

                                             to retrieve and reuse the “security tokens” associated with Plaintiff’s and other user’s accounts.

                                             Once armed with the security token for a given account, a hacker is able to access and utilize every

                                             feature of such account, including the ability to make purchases of Defendant’s Vbucks currency

                                             using the account Payment Information.

                                                    24.     Such security-token-jacking schemes are increasingly common, and any

                                             reasonably-robust cybersecurity and information technology regime must account for the ultimate

                                             disposition, including reusability, of security tokens. Defendant has failed in this regard.

                                                    25.     The Vulnerability allowed unauthorized parties the ability to extract and store

                                             players’ PII and Payment Information for future misuse and/or resell on the criminal black market.

                                             Thus, Plaintiff will need to constantly monitor his PII and Payment Information that has been

                                             stored for future misuse or sale.

                                                    26.     Defendant is aware that Vbucks are a lucrative item for cybercriminals and that its

                                             players are frequently targeted by hackers and scammers seeking to fraudulently obtain Vbucks,

                                             as well as the PII and Payment Information frequently associated with Fortnite player accounts.

                                             Notably, Defendant’s Fortnite title was the target of a data hack in the summer of 2018 which

                                             affected millions of its players’ accounts.




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                                                    27.     Despite its awareness that its Fortnite title is constantly the target of hackers,

                                             Defendant nonetheless failed to implement reasonable technical measures to detect irregularities
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                                             in its systems, such as the subject Vulnerability. Rather, a benevolent third-party research firm

                                             detected the Vulnerability.

                                                    28.     The Vulnerability also allowed unauthorized parties the ability to covertly

                                             eavesdrop on the in-game conversations between Fortnite players.

                                                    29.     Defendant’s lax cybersecurity policies and procedures created the Vulnerability

                                             that allowed hackers to obtain access to Plaintiff’s and other players’ PII and Payment Information.

                                                    30.     Defendant also failed to remedy the Vulnerability within a reasonable time after

                                             being made aware of its existence and failed to reasonably and timely notify Plaintiff and other

                                             affected Fortnite account holders. These failures not only increased the scope of the Vulnerability,

                                             but also allowed unauthorized parties additional time to extract and store PII and Payment

                                             Information for future misuse and/or sale.

                                                    31.     For at least several weeks, unauthorized third parties were able to freely access,

                                             extract, misuse or sell, or store for future misuse or sale, the PII and Payment Information of

                                             millions of Defendant’s customers, including Plaintiff.

                                                    32.     As a result of Defendant’s conduct regarding the Vulnerability, Plaintiff faces the

                                             certain costs, time, and other palpable expenses associated with continuously monitoring his

                                             accounts for the foreseeable future.

                                                    33.     Despite the severity of the Vulnerability, by failing to take prompt measures to alert

                                             Plaintiff and other customers that their PII and Payment Information had been compromised,

                                             Defendant exposed consumers to an increased risk of identity theft and other harms.




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                                                     34.      Had Defendant informed Plaintiff of the Vulnerability within a reasonable period

                                             as required by law and/or through a reasonable manner and medium, Plaintiff and the other
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                                             customers would have been able to take actions to protect their identities, credit card and debit

                                             accounts, and other potential targets from further or imminently-future misuse. Instead Defendant

                                             let its customers languish in ignorance as to the privacy harms presented by the Vulnerability.

                                                     35.      Defendant’s failure to comply with its own express policies and other reasonable

                                             data security standards provided Defendant a benefit in the form of saving on the costs of

                                             compliance, but at the expense and severe detriment of Defendant’s own customers, including

                                             Plaintiff.

                                                     36.      Since recently becoming aware of the vulnerability, Plaintiff has taken time and

                                             effort to mitigate the risk of identity theft, including changing account passwords and constantly

                                             expending time, effort, and expense in monitoring credit and other financial information.

                                                     37.      Defendant itself even recommended that Plaintiff and other Fortnite players “use[]

                                             strong passwords,” i.e. spend additional time and effort (and expense) in securing their accounts.

                                                     38.      Plaintiff has also been harmed by having his PII and Payment Information

                                             compromised and faces the imminent and impending threat of future additional harm from any

                                             future misuse or sale of his PII and Payment Information by unknown third parties.

                                                     39.      Plaintiff also experiences mental anguish as a result of Defendant’s Vulnerability

                                             exposing or otherwise making freely available his PII and Payment Information to third party

                                             hackers. For example, he experiences anxiety and anguish when thinking about what would happen

                                             if his identity is stolen as a result of the Vulnerability; when considering that, because his PII and

                                             Payment Information may have been stored for future misuse and sale, how he will need to

                                             constantly monitor his accounts for the foreseeable future; and when he thinks about the fact that



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                                             Defendant was aware of the Vulnerability and actively decided to keep him and the other victims

                                             of the Vulnerability in the dark.
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                                                     40.    The Vulnerability was caused and enabled by Defendant’s violations of its own

                                             express commitments to its customers to implement appropriate technical safeguards, as well as

                                             its preexisting obligations to abide by adequate practices and industry standards in protecting

                                             customers’ PII and Payment Information. Defendant wholly failed to comply with reasonable

                                             cybersecurity standards.

                                                                                 CLASS ALLEGATIONS

                                                     41.    Plaintiff brings Counts I through IV, as set forth below, on behalf of himself and a

                                             Class and Subclass (together, the “Class” unless otherwise noted) of similarly situated individuals

                                             pursuant to 735 ILCS § 5/2-801. The Class and Subclass are defined as follows:

                                                     Class: All persons whose PII and/or Payment Information was in the possession of
                                                     Defendant at any time during the two-month period starting at the beginning of November
                                                     2018 through the end of December 2018.

                                                     Illinois Subclass: All Illinois residents whose PII and/or Payment Information was in the
                                                     possession of Defendant at any time during the two-month period starting at the beginning
                                                     of November 2018 through the end of December 2018.

                                                     42.    Excluded from the Class are any members of the judiciary assigned to preside over

                                             this matter; any officer or director of Defendant; and any immediate family member of such officer

                                             or director.

                                                     43.    Upon information and belief, there are hundreds of thousands, if not millions, of

                                             members of the Class, making the Class so numerous that joinder of all members is impracticable.

                                             Although the exact number of Class members is currently unknown to Plaintiff, the members can

                                             easily be ascertained through Defendant’s records.




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                                                    44.     Plaintiff’s claims are typical of the claims of the Class members he seeks to

                                             represent because the factual and legal bases of Defendant’s liability to Plaintiff and the other
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                                             Class members are the same and because Defendant’s conduct has resulted in similar injuries to

                                             Plaintiff and to the Class members. As alleged herein, Plaintiff and the other Class members have

                                             all suffered similar injuries as a result of Defendant’s actions and inactions surrounding the subject

                                             Vulnerability and exposing their PII and Payment Information.

                                                    45.     There are many questions of law and fact common to the claims of Plaintiff and the

                                             Class members, and those questions predominate over any questions that may affect individual

                                             Class members. Common questions for the Class include, but are not limited to, the following:

                                                            a.      Whether Defendant implemented adequate technical, administrative, and
                                                                    physical safeguards to prevent the Vulnerability;

                                                            b.      Whether Defendant implemented adequate technical, administrative, and
                                                                    physical safeguards to detect the Vulnerability;

                                                            c.      Whether Defendant implemented adequate technical, administrative, and
                                                                    physical safeguards to reasonably mitigate the Vulnerability;

                                                            d.      Whether Plaintiff and the Class members were notified of the Vulnerability
                                                                    within a reasonable period of time and through a reasonable method;

                                                            e.      Whether implied or express contracts existed between Defendant and the
                                                                    Class members;

                                                            f.      Whether Plaintiff and the Class members sustained damages as a result of
                                                                    the Vulnerability;

                                                            g.      Whether Defendant’s PII storage and protection protocols and procedures
                                                                    were reasonable under industry standards;

                                                            h.      Whether Defendant’s cybersecurity prevention, detection, and notification
                                                                    protocols were reasonable under industry standards;

                                                            i.      Whether Defendant misrepresented the safety and security of the Class
                                                                    members’ PII maintained by Defendant;




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                                                            j.      When Defendant became aware of the unauthorized access to Plaintiff’s and
                                                                    the Class members’ PII; and
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                                                            k.      When/if Defendant completely cured the Vulnerability.

                                                    46.     Absent a class action, most Class members would find the cost of litigating their

                                             claims to be prohibitively expensive and would have no effective remedy. The class treatment of

                                             common questions of law and fact is superior to multiple individual actions in that it conserves the

                                             resources of the courts and the litigants and promotes consistency and efficiency of adjudication.

                                                    47.     Plaintiff will fairly and adequately represent and protect the interests of the other

                                             members of the Class he seeks to represent. Plaintiff has retained counsel with substantial

                                             experience in prosecuting complex litigation and class actions. Plaintiff and his counsel are

                                             committed to vigorously prosecuting this action on behalf of the other Class members and have

                                             the financial resources to do so. Neither Plaintiff nor his counsel have any interest adverse to those

                                             of the other members of the Class.

                                                    48.     Defendant has acted and failed to act on grounds generally applicable to Plaintiff

                                             and the other Class members, requiring the Court’s imposition of uniform relief to ensure

                                             compatible standards of conduct toward the members of the Class and making injunctive or

                                             corresponding declaratory relief appropriate for the Class as a whole.

                                                                                       COUNT I
                                                   Violation of the Illinois Consumer Fraud and Deceptive Business Practices Act,
                                                                                 815 ILCS 505/1, et seq.
                                                                        (On behalf of Plaintiff and the Subclass)
                                                    49.     Plaintiff realleges by reference the foregoing allegations as if fully set forth herein.

                                                    50.     Pursuant to the Illinois Personal Information Protection Act, 815 ILCS 530/1, et

                                             seq. (“PIPA”), Defendant was required to implement and maintain reasonable security measures

                                             to protect Plaintiff’s and Illinois Subclass members’ PII, and to notify them regarding any


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                                             unauthorized disclosure in the most expedient time possible and without unreasonable delay. This

                                             duty required Defendant to not only implement reasonable protocols to detect and prevent the
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                                             Vulnerability, but also to reasonably mitigate the same.

                                                    51.     Defendant was also obligated under PIPA to notify Plaintiff and the Illinois

                                             Subclass of the Vulnerability in the most expedient time possible and without unreasonable delay.

                                                    52.     Defendant’s conduct alleged herein resulting in the Vulnerability, thereby failing

                                             to safeguard its customers’ PII and Payment Information, and subsequent failure to adequately

                                             notify its customers, constitute a violation of PIPA.

                                                    53.     Pursuant to Section 530/20 of the Illinois Consumer Fraud and Deceptive Business

                                             Practices Act, 815 ILCS 505/1, et seq. (“ICFA”), Defendant’s PIPA violation is itself deemed an

                                             “unlawful practice” and a distinct violation under the ICFA.

                                                    54.     As a result of Defendant’s violation of the ICFA vis-à-vis its PIPA violation,

                                             Plaintiff and the Illinois Subclass have suffered actual pecuniary and non-pecuniary harms.

                                                    55.     Wherefore, Plaintiff prays for relief as set forth below.

                                                                                       COUNT II
                                                                                  Breach of Contract
                                                                   (On behalf of Plaintiff and the Class and Subclass)
                                                    56.     Plaintiff realleges by reference the foregoing allegations as if fully set forth herein.

                                                    57.     Plaintiff and the Class members are parties to express agreements with Defendant

                                             whereby Plaintiff and the Class members provide their PII and Payment Information to Defendant

                                             in exchange for the ability to play Fortnite, as well as purchase the in-game products and service

                                             advertised by Defendant within Fortnite.

                                                    58.     Such agreement expressly included the provision of reasonable technical

                                             safeguards to prevent the unauthorized disclosure of, and reasonable notification for irregularities

                                             concerning, Plaintiff’s and Class members’ PII and Payment Information

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                                                    59.     As alleged herein, Defendant’s actions, inactions, and failures concerning its

                                             cybersecurity and information technology protocol, as well as its conduct leading up to,
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                                             surrounding, and following the Vulnerability, constitutes a breach of contract.

                                                    60.     Plaintiff and the Class members would not have provided and entrusted their PII

                                             and Payment Information to Defendant the absence of an agreement with Defendant to reasonably

                                             safeguard the same and to reasonably notify them of unauthorized disclosures or irregularities

                                             concerning the same.

                                                    61.     Plaintiff and the members of the Class fully performed their obligations under their

                                             respective contracts for the utilization of and purchases associated with Defendant’s Fortnite

                                             products and services.

                                                    62.     The damages expressed herein as sustained by Plaintiff and the Class members

                                             were the direct and proximate result of Defendant’s breaches of contract.

                                                    63.     Wherefore Plaintiff prays for the relief set forth below.

                                                                                      COUNT III
                                                                              Breach of Implied Contract
                                                  (On behalf of Plaintiff and the Class and Subclass) (in the alternative to Count II)
                                                    64.     Plaintiff realleges by reference Paragraph 1 through 47 as if fully set forth herein.

                                                    65.     Plaintiff and the Class members provided their PII and Payment Information to

                                             Defendant in exchange for the ability to play Fortnite and utilize the in-game products and services.

                                                    66.     To the extent that it is found that Defendant did not have express agreements with

                                             Plaintiff and the Class members, Defendant entered into implied contracts with Plaintiff and the

                                             Class members. By virtue of the requirement to provide their PII and Payment Information and

                                             Defendant’s collection, storage, and use of the same, Plaintiff and the Class members and

                                             Defendant entered into implied contracts where Defendant was obligated to provide appropriate

                                             technical protections and to take reasonable other steps to secure and safeguard such PII and

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                                             Payment Information and obligated to take reasonable steps leading up to, surrounding, and

                                             following the Vulnerability.
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                                                    67.     As alleged herein, Defendant’s actions, inactions, and failures concerning its

                                             cybersecurity and information technology protocol, as well as its conduct leading up to,

                                             surrounding, and following the Vulnerability, constitutes a breach of contract.

                                                    68.     Plaintiff and the Class members would not have provided and entrusted their PII

                                             and Payment Information to Defendant in the absence of an agreement with Defendant to

                                             reasonably safeguard the same and to reasonably notify them of unauthorized disclosures or

                                             irregularities concerning the same.

                                                    69.     Plaintiff and the members of the Class fully performed their obligations under their

                                             respective contracts for the utilization of and purchases associated with Defendant’s Fortnite

                                             products and services.

                                                    70.     The damages expressed herein as sustained by Plaintiff and the Class members

                                             were the direct and proximate result of Defendant’s breaches of contract.

                                                    71.     Wherefore Plaintiff prays for the relief set forth below.

                                                                                      COUNT IV
                                                                                       Negligence
                                                                   (On behalf of Plaintiff and the Class and Subclass)
                                                    72.     Plaintiff realleges by reference the foregoing allegations as if fully set forth herein.

                                                    73.     By virtue of enabling Plaintiff and Class members to provide their PII and Payment

                                             Information as a condition to utilizing Fortnite’s in-game products and services, including

                                             Defendant’s Vbucks currency, Defendant had a duty, or assumed a duty, to implement reasonable

                                             data privacy and cybersecurity protocol, including adequate prevention, detection, and notification

                                             procedures, in order to safeguard the PII and Payment Information of the Plaintiff and the Class

                                             members and to prevent the unauthorized access to and disclosures of the same.

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                                                    74.     As alleged herein, Defendant’s actions, inactions, and failures concerning its

                                             cybersecurity and information technology protocol, as well as its conduct leading up to,
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                                             surrounding, and following the Vulnerability, constitutes a breach of such duty.

                                                    75.     Defendant also breached its duties in one or more of the following ways:

                                                            a.      Failing to implement reasonable data privacy and cybersecurity measures
                                                                    to secure Plaintiff’s and Class members’ PII and Payment Information;

                                                            b.      Failing to implement reasonable policies, procedures, and technical
                                                                    measures to address the disposition and reusability of security tokens;

                                                            c.      Failing to reasonably notify Plaintiff and Class members that their PII and
                                                                    Payment Information was exposed due to the Vulnerability;

                                                            d.      Failing to implement reasonable policies, procedures, and technical,
                                                                    administrative, and physical safeguards to detect and analyze irregularities
                                                                    in its information systems, such as the subject Vulnerability; and

                                                            e.      Otherwise failing to act reasonably under the circumstances and being
                                                                    negligent and careless with regard to its conduct in preventing, detecting,
                                                                    and disclosing the subject Vulnerability.

                                                    76.     As a direct result of Defendant’s aforesaid negligent acts and omissions, Plaintiff

                                             and the Class members suffered pecuniary and non-pecuniary injury and damages, including the

                                             loss of their legally protected interest in the confidentiality and privacy of their PII and Payment

                                             Information and injury in the form of time and expense to mitigate the same.

                                                    77.     Wherefore, Plaintiff prays for the relief set forth below.

                                                                                 PRAYER FOR RELIEF

                                                    WHEREFORE, Plaintiff, on behalf of himself and the Class and Subclass set forth above,

                                             respectfully requests the Court order relief and enter judgement against Defendant:

                                                    A.       Certifying the Class and Subclass identified above and appointing Plaintiff as Class

                                                            representative and the undersigned counsel as Class counsel;




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                                                    B.      Awarding Plaintiff and the Class and Subclass appropriate relief, including actual,

                                                            compensatory, and/or punitive damages;
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                                                    C.      Requiring Defendant to furnish identity fraud monitoring and mitigation services

                                                            for a reasonable period of time;

                                                    D.      Granting injunctive relief requiring Defendant to implement commercially

                                                            reasonable security measures to properly guard against future cyberattacks and to

                                                            provide prompt, reasonable notification in the event of such an attack;

                                                    E.      Requiring Defendant to pay Plaintiff’s and the Class members’ reasonable

                                                            attorneys’ fees, expenses, and costs; and

                                                    F.      Any such further relief as this Court deems reasonable and just.

                                                                            DEMAND FOR TRIAL BY JURY

                                                    Plaintiff demands a trial by jury on all issues so triable.


                                             Dated: February 15, 2019                                Respectfully submitted:
                                                                                                     ERIC KROHM, individually and on behalf
                                                                                                     of a class of similarly situated individuals


                                                                                                     By: /s/ Jad Sheikali
                                                                                                     One of Plaintiff’s Attorneys


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                                             Attorneys for Plaintiff and the Putative Classes

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                  Location: No hearing scheduled                                                          FILED
                                                                                                          2/19/2019 12:40 PM
                                                            IN THE CIRCUIT COURT OF COOK COUNTY, ILLINOIS DOROTHY BROWN
                                                                                                          CIRCUIT CLERK
                                                                COUNTY DEPARTMENT, CHANCERY DIVISION      COOK COUNTY, IL
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                                                                                                          2019CH02032
                                                ERIC KROHM, individually and on                )
                                                behalf of similarly situated individuals,      )
                                                                                               )
                                                        Plaintiff,                             )           No. 19-CH-02032
                                                                                               )
                                                                        v.                     )
                                                                                               )           Hon. Celia G. Gamrath
                                                EPIC GAMES, INC., a Maryland                   )
                                                corporation,                                   )           Jury Demanded
                                                                                               )
                                                        Defendant.                             )

                                                PLAINTIFF'S MOTION FOR CLASS CERTIFICATION OR, ALTERNATIVELY,
                                                FOR A DEFERRED CLASS CERTIFICATION RULING PENDING DISCOVERY

                                                    Plaintiff Eric Krohm, by and through his undersigned counsel, pursuant to 735 ILCS 5/2-

                                             801, moves for entry of an order certifying the Class proposed below, appointing Plaintiff as Class

                                             Representative, and appointing Plaintiff's attorneys as Class Counsel. Alternatively, Plaintiff

                                             requests, to the extent the Court determines further evidence is necessary to prove any element of

                                             735 ILCS 5/2-801, that the Court defer consideration of this Motion pending a reasonable period

                                             to complete discovery. See, e.g., Ballard RN Center, Inc. v. Kohll's Pharmacy & Homecare, Inc.,

                                             2015 IL 118644, at ¶¶ 42-43 (citing Damasco v. Clearwire Corp., 662 F.3d 891, 896-97 (7th Cir.

                                             2011). In support of his Motion, Plaintiff submits the following Memorandum of Law.


                                             Dated: February 19, 2019                       Respectfully Submitted,

                                                                                            ERIC KROHM, individually and on behalf of a class
                                                                                            of similarly situated individuals

                                                                                            By: /s/         Jad Sheikali
                                                                                                      One of Plaintiff's Attorneys


                                             Myles McGuire
                                             Jad Sheikali


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                                             Timothy P. Kingsbury
                                             MCGUIRE LAW, P.C.
                                             55 W. Wacker Drive, 9th Fl.
FILED DATE: 2/19/2019 12:40 PM 2019CH02032




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                                             Attorneysfor Plaintiff and the Putative Classes




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                                                         MEMORANDUM OF LAW IN SUPPORT OF PLAINTIFF'S
                                                      MOTION FOR CLASS CERTIFICATION OR, ALTERNATIEY, FOR
                                                   A DEFFERED CLASS CERTIFICATION RULING PENDING DISCOVERY
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                                                    This Court should certify a class of individuals whose personal information ("PII") and/or

                                             Payment Information was in the possession of Defendant Epic Games, Inc. ("Defendant" or "Epic

                                             Games") at any time during the two-month period starting at the beginning of November 2018

                                             through the end of December 2018 (the "Vulnerability"), and an Illinois-only subclass of all

                                             Illinois residents similary affected by the Vulnerability.

                                                    Defendant is the developer and owner of a globally-leading video game, Fortnite. After

                                             Plaintiff learned of Defendant's failure to implement a reasonably adequate cyber-risk prevention,

                                             detection, and response protocol for its Fortnite title, he brought suit on behalf of a class of

                                             similarly situated individuals to obtain redress for all persons injured by Defendant's conduct.

                                             I.     FACTUAL BACKGROUND

                                                    A.      The Underlying Misconduct.

                                                    Around or before November 2018, Defendant became aware of a significant Vulnerability

                                             in its Fortnite title, compromising the PII of millions of its customers. (Compl. IT 2-6). Plaintiff

                                             alleges that the Vulnerability was caused by Defendant's failure to implement a reasonably

                                             adequate cyber-risk prevention, detection, and response protocol, including procedures for

                                             disposing of "login security tokens." (Compl.¶¶7-8, 23-24).

                                                    As a result of Defendant's conduct leading up to, surrounding, and following the subject

                                             Vulnerability, Plaintiff and the other class members have incurred both pecuniary and non-

                                             pecuniary injuries, including having their PII and Payment Information exposed, having to spend

                                             time, expense, and effort mitigating further privacy injuries, mental anguish, and other legally

                                             cognizable informational injuries. (Compl. VII 36-39).



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                                                    B.      The Proposed Classes

                                                    Plaintiff brings this action on behalf of himself and a Class and Subclass (the "Class") of
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                                             similarly situated individuals pursuant to 735 ILCS § 5/2-801. The Class is defined as follows:

                                                    Class: All persons whose PII and/or Payment Information was in the possession of
                                                    Defendant at any time during the two-month period starting at the beginning of November
                                                    2018 through the end of December 2018.

                                                    Illinois Subclass: All Illinois residents whose PII and/or Payment Information was in the
                                                    possession of Defendant at any time during the two-month period starting at the beginning
                                                    of November 2018 through the end of December 2018..

                                             (Compl. ¶ 41.) As explained below, the proposed Class satisfies each of the four requirements for

                                             certification under Section 2-801 of the Illinois Code of Civil Procedure—numerosity,

                                             commonality, adequacy of representation, and fair and efficient adjudication. A class action is not

                                             just appropriate here, it is also the only way that the members of the putative Class can obtain

                                             appropriate redress for Defendant's unlawful conduct.

                                             II.    ARGUMENT

                                                    A.      Standards for Class Certification

                                                    To obtain class certification, it is not necessary for a plaintiff to establish that he will prevail

                                             on the merits of the action. Eisen v. Carlisle & Jacquelin, 417 U.S. 156, 178 (1974) ("[T]he

                                             question is not whether the plaintiff or plaintiffs have stated a cause of action or will prevail on the

                                             merits, but rather whether the requirements of Rule 23 are met." (internal quotation marks and

                                             citation omitted)). As such, in determining whether to certify a proposed class, the Court should

                                             accept the allegations of the complaint as true. Ramirez v. Midway Moving & Storage, Inc., 378

                                             Ill. App. 3d 51, 53 (1st Dist. 2007).

                                                     To proceed with a class action, the movant must satisfy the "prerequisites for the

                                             maintenance of a class action" set forth in Section 2-801 of the Illinois Code of Civil Procedure,



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                                             which provides:

                                                    An action may be maintained as a class action in any court of this State and a party
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                                                    may sue or be sued as a representative party of the class only if the court finds:

                                                    (1)     The class is so numerous that joinder of all members is
                                                            impracticable.
                                                    (2)     There are questions of fact or law common to the class, which
                                                            common questions predominate over any questions affecting only
                                                            individual members.
                                                    (3)     The representative parties will fairly and adequately protect the
                                                            interest of the class.
                                                    (4)     The class action is an appropriate method for the fair and efficient
                                                            adjudication of the controversy.

                                             735 ILCS 5/2-801. As demonstrated below, each prerequisite is established for the Class, and the

                                             Court should therefore certify the proposed Class.

                                                    Section 2-801 is modeled after Rule 23 of the Federal Rules of Civil Procedure and "federal

                                             decisions interpreting Rule 23 are persuasive authority with regard to questions of class

                                             certification in Illinois." Avery v. State Farm Mut. Auto. Ins. Co., 216 Ill. 2d 100, 125 (III. 2005).

                                             Circuit courts have broad discretion in determining whether a proposed class meets the

                                             requirement for class certification and ought to err in favor of maintaining class certification.

                                             Ramirez, 378 Ill. App. 3d at 53. While a court may rule on class certification without requiring

                                             further discovery, see Manual for Complex Litigation (Fourth) § 21.14, at 255 (2004), courts have

                                             found that discovery is helpful prior to addressing a motion for class certification. See, e.g., Ballard

                                             RN Center, Inc. v. Kohll's Pharmacy & Homecare, Inc., 2015 IL 118644, at ¶ 42 ("If the parties

                                             have yet to fully develop the facts needed for certification, then they can also ask the district court

                                             to delay its ruling to provide time for additional discovery or investigation.") (quoting Damasco v.

                                             Clearwire Corp., 662 F.3d 891, 896 (7th Cir. 2011)).

                                                    All the prerequisites for class certification are satisfied here, even though Plaintiff has not

                                             yet had an opportunity to engage in and complete discovery. However, in the interests of


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                                            establishing a more fully developed record before ruling on class certification issues, the Court

                                            should defer ruling on this Motion pending the completion of discovery and submission of
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                                            supplemental briefing.

                                                   B.      The Numerosity Requirement is Satisfied

                                                   The first step in certifying a class is a showing that "the class is so numerous that joinder

                                            of all members is impracticable." 735 ILCS 5/2-801(1). This requirement is met when "join[ing]

                                            such a large number of plaintiffs in a single suit would render the suit unmanageable and, in

                                            contrast, multiple separate claims would be an imposition on the litigants and the courts." Gordon

                                            v. Boden, 224 Ill. App. 3d 195, 200 (1st Dist. 1991) (citing Steinberg v. Chicago Med. Sch., 69

                                            Ill.2d 320, 337 (Ill. 1977)). To satisfy this requirement a plaintiff need not demonstrate the exact

                                            number of class members but, must offer a good faith estimate as to the size of the class. Smith v.

                                            Nike Retail Servs., Inc., 234 F.R.D. 648, 659 (N.D. Ill. 2006).

                                                   Plaintiff alleges that there are at least hundreds of thousands of members of the Class.

                                            (Complaint at ¶ 43.) Because definitive evidence of numerosity can only come from the records

                                            of Defendant and its agents, it is proper to rely upon the allegations of the Complaint in certifying

                                            the Class. See 2 A. Conte & H. Newberg, Newberg on Class Actions § 7.20, at 66 (stating that

                                            where numerosity information is in the sole possession of the party opposing the class, courts

                                            generally rely on the complaint as prima facie evidence or defer ruling).

                                                   Additionally, the members of the putative Class can be easily and objectively determined

                                            from Defendant's records. Furthermore, it would be completely impracticable to join the claims

                                            of the members of the Class, because they are disbursed throughout Illinois, and because absent a

                                            class action, few members could afford to bring an individual lawsuit over the amounts at issue in

                                            this case, since each individual member's claim is relatively small. See Gordon, 224 Ill. App. 3d



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                                             at 200. Accordingly, the first prerequisite for class certification is met.

                                                     C.      Common Questions of Law and Fact Predominate
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                                                     The second requirement of Section 2-801(2) is met where there are "questions of fact or

                                             law common to the class" and those questions "predominate over any questions affecting only

                                             individual members." 735 ILCS 5/2-801(2). Such common questions of law or fact exist when the

                                             members of the proposed class have been aggrieved by the same or similar misconduct. See Miner

                                             v. Gillette Co., 87 Ill.2d 7, 19 (Ill. 1981); Steinberg, 69 II1.2d at 342. These common questions

                                             must also predominate over any issues affecting individual class members. See 0-Kay Shoes, Inc.

                                             v. Rosewell, 129 Ill. App. 3d 405, 408 (1st Dist. 1984).

                                                     Here, the claims of the Class members arise out of the same conduct by Defendant and the

                                             same event, i.e. the Vulnerability, are based on the same legal theory, and implicate, among others,

                                             the following common issues: whether Defendant implemented adequate technical, administrative,

                                             and physical safeguards to prevent the Vulnerability, Defendant implemented adequate technical,

                                             administrative, and physical safeguards to detect the Vulnerability, Defendant implemented

                                             adequate technical, administrative, and physical safeguards to reasonably mitigate the

                                             Vulnerability, whether implied or express contracts existed between Defendant and the Class

                                             members, and when Defendant became aware of the subject Vulnerability. (Compl. ¶ 45.)

                                                     As alleged, and as will be shown through obtainable evidence, any potential individualized

                                             issues remaining after common issues are decided would be de minimis. Accordingly, common

                                             issues of fact and law predominate over any individual issues, and Plaintiff has satisfied this hurdle

                                             to certification.

                                                     D.      Adequate Representation

                                                     The third prong of Section 2-801 requires that "[t]he representative parties will fairly and



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                                             adequately protect the interest of the class." 735 ILCS 5/2-801(3). The class representative's

                                             interests must be generally aligned with those of the class members, and class counsel must be
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                                             "qualified, experienced and generally able to conduct the proposed litigation." See Miner, 87 I11.2d

                                             at 14; see also Eshaghi v. Hanley Dawson Cadillac Co., Inc., 214 Ill. App. 3d 995, 1000 (1st Dist.

                                             1991). The purpose of this adequacy of representation requirement is "to insure that all Class

                                             members will receive proper, efficient, and appropriate protection of their interests in the

                                             presentation of the claim." Purcell & Wardrope Chtd. v. Hertz Corp., 175 Ill. App. 3d 1069, 1078

                                             (1st Dist. 1988).

                                                    In this case, Plaintiff has the exact same interest as the members of the proposed Class.

                                             Plaintiff has alleged that, like the other members of the Class, he suffered injuries as a result of his

                                             PII being exposed by Defendant's Vulnerability. Plaintiff's pursuit of this matter against

                                             Defendant demonstrates that he will be a zealous advocate for the Class. Further, proposed class

                                             counsel has regularly engaged in major complex and class action litigation in state and federal

                                             courts and have been appointed as class counsel in several complex consumer class actions. (See

                                             Declaration of Jad Sheikali, attached hereto as Exhibit A). Accordingly, the proposed class

                                             representative and proposed class counsel will adequately protect the interests of the members of

                                             the Classes, thus satisfying Section 2-801(3).

                                                     E.      Fair and Efficient Adjudication of the Controversy

                                                     The final requirement for class certification under 5/2-801 is met where "the class action

                                             is an appropriate method for the fair and efficient adjudication of the controversy." 735 ILCS 5/2-

                                             801(4). "In applying this prerequisite, a court considers whether a class action: (1) can best secure

                                             the economies of time, effort and expense, and promote uniformity; or (2) accomplish the other

                                             ends of equity and justice that class actions seek to obtain." Gordon, 224 Ill. App. 3d at 203. In



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                                             practice, a "holding that the first three prerequisites of section 2-801 are established makes it

                                             evident that the fourth requirement is fulfilled." Gordon, 224 Ill. App. 3d at 204; Purcell &
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                                             Wardrope Chtd., 175 Ill. App. 3d at 1079 ("The predominance of common issues [may] make a

                                             class action . . . a fair and efficient method to resolve the dispute."). Because numerosity,

                                             commonality and predominance, and adequacy of representation have been satisfied in the instant

                                             case, it is "evident" that the appropriateness requirement is met as well.

                                                    Other considerations further support certification in this case. A "controlling factor in many

                                             cases is that the class action is the only practical means for class members to receive redress."

                                             Gordon, 586 N.E.2d at 467; Eshaghi, 574 N.E.2d at 766 ("In a large and impersonal society, class

                                             actions are often the last barricade of...protection."). A class action is superior to multiple

                                             individual actions "where the costs of litigation are high, the likely recovery is limited" and

                                             individuals are unlikely to prosecute individual claims absent the cost-sharing efficiencies of a

                                             class action. Maxwell, 2004 WL 719278, at *6. This is especially true in cases involving data

                                             privacy violations and data breaches, which can involve significant injury to the those effected,

                                             but result in many small, individual claims. Here, absent a class action, most members of the Class

                                             would find the cost of litigating their statutorily-limited claims to be prohibitive, and multiple

                                             individual actions would be judicially inefficient. Id.

                                                     Certification of the proposed Class is necessary to ensure that Defendant's conduct

                                             becomes compliant, to ensure that the Class members' privacy rights are sufficiently protected,

                                             and to compensate those individuals who have had their privacy rights violated. Were this case not

                                             to proceed on a class-wide basis, it is unlikely that any significant number of Class members would

                                             be able to obtain redress, or that Defendant would willingly implement the procedures necessary

                                             to honor the requirements of the statute. Thus, proceeding as a class action here is an appropriate



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                                             method to fairly and efficiently adjudicate the controversy.

                                             III.    CONCLUSION
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                                                     For the reasons set forth above, the requirements of 735 ILCS 5/2-801 are satisfied.

                                             Plaintiff respectfully request that the Court enter an Order certifying the proposed Class,

                                             appointing Plaintiff as Class Representative, appointing McGuire Law, P.C. as Class Counsel, and

                                             awarding such additional relief as the Court deems reasonable. Alternatively, the Court should

                                             defer ruling on this Motion pending the completion of appropriate discovery and supplemental

                                             briefing.


                                             Dated: February 19, 2019                      Respectfully Submitted,

                                                                                          ERIC KROHM, individually and on behalf of a class
                                                                                          of similarly situated individuals

                                                                                           By: /s/         Jad Sheikali
                                                                                                     One of Plaintiff's Attorneys


                                             Myles McGuire
                                             Jad Sheikali
                                             Timothy P. Kingsbury
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                                             Attorneysfor Plaintiff and the Putative Classes




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                                                                                CERTIFICATE OF FILING

                                                    The undersigned, an attorney, hereby certifies that on February 19, 2019, a copy of Plaintiff's
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                                             Motion for Class Certification or, Alternatively, for a Deferred Class Certification Ruling Pending

                                             Discovery was filed electronically with the Clerk of Court using the e-filing system.


                                                                                                                    Jad Sheikali




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                                                                                                      2019CH02032
                                                ERIC KROHM, individually and on
                                                behalf of similarly situated individuals,

                                                          Plaintiff,                                        No. 19-CH-02032

                                                                         v.
                                                                                                            Hon. Celia G. Gamrath
                                                EPIC GAMES, INC., a Maryland
                                                corporation,                                                Jury Demanded

                                                          Defendant.


                                                                           DECLARATION OF JAD SHEIKALI

                                                    I, Jad Sheikali, hereby aver, pursuant to 735 ILCS 5/1-109, that I have personal knowledge

                                             of all matters set forth herein unless otherwise indicated and would testify thereto if called as a

                                             witness in this matter.

                                                    1.        I am an adult over the age of 18 and a resident of the State of Illinois.

                                                    2.        I am fully competent to make this Declaration and I do so in support of Plaintiff's

                                             Motion for Class Certification or, Alternatively, for a Deferred Class Certification Ruling Pending

                                             Discovery.

                                                     3.       I am an associate of the law firm McGuire Law, P.C. I am licensed to practice law

                                             in the State of Illinois, and I am one of the attorneys representing the Plaintiff in this matter.

                                                     4.       McGuire Law, P.C. is a litigation firm based in Chicago, Illinois that focuses on

                                             class action litigation, representing clients in both state and federal trial and appellate courts

                                             throughout the country.

                                                     5.       The attorneys of McGuire Law, P.C. have regularly engaged in complex litigation

                                             on behalf of consumers and have extensive experience prosecuting class action lawsuits similar in



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                                             size and complexity to the instant case. Attorneys at my firm have served as class counsel in

                                             numerous complex consumer class actions. See, e.g., Shen et al v. Distributive Networks, Inc.
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                                             (N.D. Ill. 2007); McFerren et al v. AT&T Mobility, LLC (Sup. Ct. Fulton County, Ga. 2008); Gray

                                             et al v. Mobile Messenger Americas, Inc. et al., (S.D. Fla. 2008); Gresham et al v. Keppler &

                                             Associates, LLC et al., (Sup. Ct. Los Angeles County, Cal. 2008); Weinstein et al v. The

                                             Timberland Co., et al. (N.D. Ill. 2008); Sims et al v. Cellco Partnership et al., (N.D. Cal. 2009);

                                             Van Dyke et al v. Media Breakaway, LLC et al., (S.D. Fla. 2009); Paluzzi, et al. v. mBlox, Inc., et

                                             al., (Cir. Ct. Cook County, Ill. 2009); Valdez et al v. Sprint Nextel Corporation (N.D. Cal. 2009);

                                             Parone et al v. m-Qube, Inc. et al., (Cir. Ct. Cook County, Ill. 2010); Satterfield et al v. Simon &

                                             Schuster (N.D. Cal. 2010); Espinal et al v. Burger King Corporation et al., (S.D. Fla. 2010);

                                             Lozano v. Twentieth Century Fox, (N.D. Ill. 2011); Williams et al v. Motricity, Inc. et al., (Cir. Ct.

                                             Cook County, Ill. 2011); Walker et al v. OpenMarket, Inc. et al., (Cir. Ct. Cook County, Ill. 2011);

                                             Schulken at al v. Washington Mutual Bank, et al., (N.D. Cal. 2011); In re Citibank HELOC

                                             Reduction Litigation (N.D. Cal 2012); Kramer et al v. Autobytel et al., (N.D. Cal. 2011); Rojas et

                                             al v. Career Education Co. (N.D. Ill. 2012); Ellison et al v. Steven Madden, Ltd. (C.D. Cal. 2013);

                                             Robles et al v. Lucky Brand Dungarees, Inc. et al., (N.D. Cal. 2013); Pimental et al v. Google, Inc.

                                             et al., (N.D. Cal. 2013); In re Jiffy Lube Spam Text Litigation (S.D. Cal. 2013); Lee et al v.

                                             Stonebridge Life Ins. Co. et al., (N.D. Cal. 2013); Gomez et al v. Campbell-Ewald Co. (C.D. Cal.

                                             2014); Murray et al. v. Bill Me Later, Inc., 12-cv-4789 (N.D. Ill. 2014); Valladares et al v.

                                             Blackboard, Inc. (Cir. Ct. Cook County, Ill. 2016); Hooker et al. v. Sirius XM Radio, Inc. (E.D.

                                             Va. 2016); Seal et al. v. RCN Telecom Services, LLC, (Cir. Ct. Cook County, Ill. 2017);

                                             Manouchehri, et al. v. Styles for Less, Inc., et al., (S.D. Cal. 2017); Vergara et al. v. Uber




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                                             Technologies, Inc. (N.D. Ill. 2017); Flahive et al v. Inventurus Knowledge Solutions, Inc. (Cir. Ct.

                                             Cook County 2017).
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                                                    6.      I am a graduate of Loyola University Chicago School of Law. I have been

                                             practicing law since 2016 and have been admitted to practice in the Illinois Supreme Court and in

                                             the U.S. District Court for the Northern District of Illinois. I am a Certified Information Privacy

                                             Professional, United States Private Sector (CIPP/US).

                                                    7.      McGuire Law, P.C. has diligently investigated the facts and claims in this matter

                                             and will continue to diligently investigate and prosecute this matter. McGuire Law, P.C. has also

                                             dedicated substantial resources to this matter and will continue to do so. McGuire Law, P.C. has

                                             the financial resources necessary to fully prosecute this action through trial and to provide the

                                             necessary and appropriate notice to the class members should this proposed class be certified.



                                                     I declare under penalty of perjury that the foregoing is true and correct.


                                             Executed on February 19, 2019 in Chicago, IL.


                                                                                            /s/ Jad Sheikali
                                                                                            One of Plaintiff's Attorneys




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                                                                                                                     2019CH02032
                                                           IN THE CIRCUIT COURT OF COOK COUNTY, ILLINOIS


                                            ERIC KROHM, individually and for a class,
                                                                                          (Name all parties)       Case No.     2019-CH-02032
                                                                            V.
                                                                                                                    EPIC GAMES, INC., c/o The Corporation Trust, Incorporated
                                            EPIC GAMES, INC., a Maryland corporation.                               2405 York Road, Suite 201
                                                                                                                    Lutherville Timonium, MD 21093

                                                                                          SUMMONS            ❑ ALIAS SUMMONS

                                            To each Defendant:

                                            YOU ARE SUMMONED and required to file an answer to the complaint in this case, a copy of which is hereto attached, or otherwise
                                            file your appearance and pay the required fee within thirty (30) days after service of this Summons, not counting the day of service.
                                            To file your answer or appearance you need access to the internet. Please visit wwwcookcounryclerkofcourt.org to initiate this process.
                                            Kiosks with internet access are available at all Clerk's Office locations. Please refer to the last page of this document for location
                                            information.
                                            If you fail to do so, a judgment by default may be entered against you for the relief requested in the complaint.
                                            To the Officer:
                                            This Summons must be returned by the officer or other person to whom it was given for service, with endorsement of service and fees,
                                            if any, immediately after service. If service cannot be made, this Summons shall be returned so endorsed. This Summons may not be
                                            served later than thirty (30) days after its date.

                                            E-filing is now mandatory for documents in civil cases with limited exemptions. To e-file, you must first create an account
                                            with an e-filing service provider. Visit https://efile.illinoiscourts.gov/service-providers.htm to learn more and to select a
                                            service provider. If you need additional help or have trouble e-filing, visit http://www.illinoiscourts.gov/FAQ/gethelp.asp.
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                                                              Sheikali
                                            Amy Name: Jad
                                                                                                                   Date of Service:
                                            Atty. for: Plaintiff
                                                                                                                   (To be inserted by officer on copy left with Defendant
                                                                                     9th Fl.
                                            Address: 55 West Wacker Drive,                                         or other person):
                                            City: Chicago                                                  IL
                                                                                                 State:
                                            Zip: 60601
                                            Telephone: 312-893-7002
                                                           jsheikali@mcgpc.com
                                            Primary Email:
                                            Secondary Email: dgerbie@mcgpc.com
                                            Tertiary Email: emeyers@mcgpc.com
                                                  Dorothy Brown, Clerk of the Circuit Court of Cook County, Illinois                         cookcountyclerkofcourt.org
                                                                                                             Page 1 of 2


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                                                       CLERK OF THE CIRCUIT COURT OF COOK COUNTY OFFICE LOCATIONS

                                                 Richard J Daley Center                                    Domestic Relations Division
FILED DATE: 3/8/2019 10:55 AM 2019CH02032




                                                 50 W Washington                                           Richard J Daley Center
                                                 Chicago, IL 60602                                         50 W Washington, Rm 802
                                            C.   District 2 - Skokie                                       Chicago, IL 60602
                                                 5600 Old Orchard Rd                                       Hours: 8:30 am - 4:30 pm
                                                 Skokie, IL 60077                                  0       Civil Appeals
                                                 District 3 - Rolling Meadows                              Richard J Daley Center
                                                 2121 Euclid                                               50 W Washington, Rm 801
                                                 Rolling Meadows, IL 60008                                 Chicago, IL 60602
                                                                                                           Hours: 8:30 am - 4:30 pm
                                                 District 4 - Maywood
                                                 1500 Maybrook Ave                                 0       Criminal Department
                                                 Maywood, IL 60153                                         Richard J Daley Center
                                                                                                           50 W Washington, Rui 1006
                                                 District 5 - Bridgeview                                   Chicago, IL 60602
                                                 10220 S 76th Ave                                          Hours: 8:30 am - 4:30 pm
                                                 Bridgeview, IL 60455
                                                                                                           County Division
                                                 District 6 - Markham                                      Richard J Daley Center
                                                 16501 S Kedzie Pkwy                                       50 W Washington, Rm 1202
                                                 Markham, IL 60428                                         Chicago, IL 60602
                                                 Domestic Violence Court                                   Hours: 8:30 am - 4:30 pm
                                                 555 W Harrison                                            Probate Division
                                                 Chicago, IL 60607                                         Richard J Daley Center
                                                 Juvenile Center Building                                  50 W Washington, Rm 1202
                                                 2245 W Ogden Ave, Rm 13                                   Chicago, IL 60602
                                                 Chicago, IL 60602                                         Hours: 8:30 am - 4:30 pm
                                                 Criminal Court Building                                   Law Division
                                                 2650 S California Ave, Rm 526                             Richard J Daley Center
                                                 Chicago, IL 60608                                         50 W Washington, Rm 801
                                                                                                           Chicago, IL 60602
                                            Daley Center Divisions/Departments                             Hours: 8:30 am - 4:30 pm
                                                 Civil Division                                            Traffic Division
                                                 Richard J Daley Center                                    Richard J Daley Center
                                                 50 W Washington, Rm 601                                   50 W Washington, Lower Level
                                                 Chicago, IL 60602                                         Chicago, IL 60602
                                                 Hours: 8:30 am - 4:30 pm                                  Hours: 8:30 am - 4:30 pm
                                                 Chancery Division
                                                 Richard J Daley Center
                                                 50 W Washington, Rm 802
                                                 Chicago, IL 60602
                                                 Hours: 8:30 am - 4:30 pm


                                                 Dorothy Brown, Clerk of the Circuit Court of Cook County, Illinois       cookcountyclerkofcourt.org
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                  IN THE CIRCUIT COURT OF COOK COUNTY, ILLINOIS
                      COUNTY DEPARTMENT, CHANCERY DIVISION

      ERIC KROHM, individually and on                   )
      behalf of similarly situated individuals,         )
                                                        )
              Plaintiff,                                )             No. 19-CH-02032
                                                        )
                              v.                        )
                                                        )             Hon. Celia G. Gamrath
      EPIC GAMES, INC., a Maryland                      )
      corporation,                                      )             Jury Demanded
                                                        )
              Defendant.                  ___           )

Notice and Acknowledgment (~f Receipt       4,')'1II11m0I1S    and Complaint

                                                  NOTICE

To:

 Epic Games, Inc.
c/o Jeffrey Jacobson
 Kelley Drye & Warren LLP
 101 Park Avenue
New York, NY 10178
jjacobson@kelleydrye.com

        The enclosed summons and complaint are served pursuant to Section 2-213 of the Code of
Civil Procedure.

        You must complete the acknowledgmcnt                  part of this form and return one copy of the
completed form to the sender within 30 days.

        You must sign and date the acknowledgment.      If you are served on behalf of a corporation,
unincorporated association (including a partnership), or other entity, you must indicate under your
signature your relationship to that entity. If you are served on behalf of another person and you
are authorized to receive process, you must indicate under your signature your authority.

       If you do not complete and rcturn the form to the sender within 30 days, you (or the party
on whose behalf you are being served) may be served a summons and complaint in any other
manner permitted by law.




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        If you do complete and return this form, you (or the party on whose behalf you are being
served) must answer the complaint within 60 days. If you fail to do so, judgment by default will
be taken against you for the relief demanded in the complaint.

      I declare, under penalty of perjury, that this notice and acknowledgment   of receipt of
summons and complaint will have been served by electronic mail on March 1, 2019.




By:    /s/ Jad Sheikali
       Jad Sheikali
       One of Plaintiffs      Attorneys

Date of Signature: March 8,2019




        ACKNOWLEDGMENT                       OF RECEIPT OF SUMMONS AND COMPLAINT

       I declare, under penalty of peljury, that I received a copy of the summons and of the
complaint in the above-captioned matter via electronic mail at jjacobson@kelleydrye.com.




Relationship to Entity/Authority            to Receive Service of Process


(Not Applicable if you are the name Defendant or Respondent)


Signature   pt(~                            L. Z;Ar//~
Date of Signature   ,v.,.o.., ,,\..._ t\)    zn ICf




                                                           2


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